82 F.3d 412
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dennis E. YARRELL, Plaintiff-Appellant,v.SERGEANT Thomas;  Superintendent Ginn, sued individually andin their official capacity, Defendants-Appellees.
    No. 95-7959
    United States Court of Appeals, Fourth Circuit.
    Submitted March 21, 1996.Decided April 12, 1996.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.   Terrence W. Boyle, District Judge.  (CA-95-944-5-BO)
      Dennis E. Yarrell, Appellant Pro Se.
      Before NIEMEYER and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, although we grant leave to proceed in forma pauperis, we affirm on the reasoning of the district court.   Yarrell v. Thomas, No. CA-95-944-5-BO (E.D.N.C. Nov. 6, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    